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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA,
                                                 Case No. 3:23-CR-140
                  Plaintiff,
                                                 PLEA AGREEMENT
                  V.


 DESHAUN HOLMES,

                  Defendant.

      Pursuant to Rule 1l(c)(l)(A) and (B) of the Federal Rules of Criminal Procedure,

the United States of America, by its attorneys, Mac Schneider, United States Attorney for

the District of North Dakota, and Matthew D. Greenley, Assistant United States

Attorney; Defendant, DESHAUN HOLMES ; and Defendant's counsel, Rhiannon

Gorham, agree to resolve this case on the terms and conditions that follow. This plea

agreement binds only the Defendant and the United States Attorney's Office for the

District of North Dakota. This agreement does not bind any other United States

Attorney's Office or any other federal or state agency.

       1.     Charges. Defendant acknowledges the Indictment charges violations of

Title 18, United States Code, Sections 924(c)(l)(A)(ii); 1704, 1708, and 2114(a).

Defendant fully understands the nature and elements of the crimes with which he has been

charged. Defendant will voluntarily plead guilty to Count One and Count Two of the

Indictment. Count One charges Robbery of Mail, in violation of Title 18, United States

Code, Section 2114(a). Count Two charges Brandishing a Firearm During a Crime of
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Violence, in violation of Title 18, United States Code, Section 924(c)(l)(A)(ii). Further,

Defendant admits the Forfeiture allegation.

      2.      Non-binding Plea Agreement. The parties agree this Plea Agreement shall

be filed as part of the Court record and be governed by Federal Rule of Criminal Procedure

ll(c). The parties specifically agree that Rule ll(c)(l)(C) does not apply. If the

United States makes the non-binding recommendations specified in this Plea Agreement,

then Defendant acknowledges that this agreement will have been fulfilled. Except as

provided in Rule ll(c)(5), the Court's refusal to accept any or all terms of the Plea

Agreement does not give Defendant a right to withdraw Defendant's guilty plea.

       3.     Factual Basis. Defendant will plead guilty because Defendant is in fact

guilty of the charges. In pleading guilty to Count One and Count Two, Defendant

acknowledges that the following facts are true and that those facts establish his guilt beyond

a reasonable doubt and constitute relevant conduct pursuant to the United States Sentencing

Guidelines. The following facts may be used to establish a factual basis for defendant's

guilty plea, sentence, and any forfeiture. Defendant has been advised by defendant's

attorney of defendant's rights under Federal Rule of Criminal Procedure 1 l(f) and Federal

Rule of Evidence 410. Defendant waives these rights with respect to the statements within

the Plea Agreement and agrees this Plea Agreement may be used against defendant at any

time in any proceeding in this case should defendant violate or refuse to follow through on

this plea agreement, regardless of whether the plea agreement has been accepted by the

Court. Defendant agrees that the recitation below is a summary of the facts against




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defendant and does not constitute all of the facts the government may be able to prove at

trial and may be able to prove to the court in accordance with this agreement.

       On July 17, 2023, at 11: 15, the Defendant robbed a United States Postal
       Service mail carrier at gun point using a black handgun. The robbery took
       place in Frontier, which is an unincorporated neighborhood within the
       boundaries of Fargo, North Dakota. The Defendant pointed the handgun at
       the mail carrier and demanded the mail carrier tum over "the key," referring
       to an arrow key. Arrow keys are used by the postal service to access
       collection boxes and mail receptacles throughout geographic areas of cities
       or zip codes. This particular key opened mailboxes throughout three zip
       codes in Fargo, North Dakota.

       The mail carrier initially handed his vehicle key to the Defendant not
       realizing the Defendant was asking for the arrow key. The Defendant said
       "Do you want to get shot?", which prompted the mail carrier to tum over the
       arrow key to the Defendant. The defendant also told the mail carrier to give
       the Defendant a tray of mail from the delivery vehicle. The Defendant put
       the mail in his vehicle and drove away.

       Postal inspectors traced the path of the Defendant's vehicle to East Grand
       Forks, North Dakota, where the Defendant and his vehicle were identified
       based upon information from a prior traffic stop. The Defendant stayed in
       East Grand Forks approximately two days before returning to his recently
       leased apartment in Fargo, North Dakota. A search warrant was executed at
       the Defendant's residence where investigators recovered the stolen arrow
       key, a firearm, a mask, and a large amount of mail from Frontier that was not
       addressed to the Defendant. The Defendant agreed to be interviewed and
       admitted that he robbed a postal carrier in Frontier and that he used a black
       handgun to commit the robbery.

       4.     Statutory Penalties.     Defendant understands the following maximum

penalties apply:

Count One

       Imprisonment:               Up to 25 years
       Fine:                       $250,000
       Supervised Release:         5 years
       Special Assessment:         $100


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Count Two

       Imprisonment:                Not less than 7 years to life
       Fine:                        $250,000
       Supervised Release:          5 years
       Special Assessment:          $100

Defendant agrees to pay the Clerk of United States District Court the special assessment

on or before the day of sentencing.

       5.      Waiver of Constitutional Trial Rights. The Defendant understands that he

has the right to go to trial. At trial, the Defendant would be presumed innocent, have the

right to trial by jury, or with the consent of the United States and of the Court, to trial by

the Court, the right to the assistance of counsel, the right to confront and cross-examine

adverse witnesses, the right subpoena witnesses to testify for the defense, the right to testify

and present evidence, and the right to be protected from compelled self-incrimination. The

Defendant understands that he has the right to an attorney at every stage of these

proceedings and, if necessary, one will be appointed to represent him. The Defendant

understands that he has the right to persist in a plea of not guilty and, if he does so, he

would have the right to a public and speedy trial. By pleading guilty, the Defendant

knowingly, willingly, and voluntarily waives each of these trial rights, except the right to

counsel. The Defendant understands that a guilty plea is a complete and final admission

of guilt and, if the Court accepts the guilty plea, the Court will adjudge the Defendant guilty

without a trial.

       6.      Additional Consequences. The Defendant understands that as a result of

his conviction, he could experience additional consequences, such as the loss of the right


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to carry firearms, the right to vote, and the right to hold public office. Further, Defendant

understands that any individual who is convicted and who is not a United States citizen

may be removed from the United States, denied citizenship, and denied admission to the

United States in the future. This Plea Agreement also does not bar or compromise any civil

or administrative claim. Defendant understands the United States Attorney reserves the

right to notify any local, state, or federal agency by whom Defendant is licensed, or with

whom Defendant does business, of Defendant's conviction.

       7.     Guidelines Calculations. The parties acknowledge that the Defendant will

be sentenced in accordance with 18 U.S.C. § 3551, et seq. Nothing in this plea agreement

should be construed to limit the parties from presenting any and all relevant evidence to

the Court at sentencing. The parties also acknowledge that the Court will consider the

United States Sentencing Guidelines in determining the appropriate sentence and stipulate

to the following guideline calculations:

              a.     Base Offense Level. The parties agree that the base offense level for
                     Robbery of Mail is 20. U.S.S.G. § 2B3.l(a).

              b.     Specific Offense Characteristics. The parties agree that the offense
                     level should be increased by 2 levels because taking property of a post
                     office was an object of the offense. U.S.S.G. § 2B3.l(b)(l).

              c.     Chapter 3 Adjustments. The parties agree that, other than credit for
                     acceptance of responsibility, no Chapter 3 adjustments apply.

              d.     Acceptance of Responsibility. The government agrees to recommend
                     that the Defendant receive a 2-level reduction for acceptance of
                     responsibility pursuant to U.S.S.G. § 3El.l(a). As the Defendant has
                     timely notified the government of his intention to enter a plea of
                     guilty, the government agrees to recommend that the defendant
                     receive an additional 1-level reduction pursuant to U.S.S.G. §
                     3E 1.1 (b ). Whether these reductions will be imposed shall be


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           determined by the Court in its discretion. However, the Defendant
           understands and agrees that the government's recommendations are
           conditioned upon the following: ( 1) the Defendant testifies truthfully
           during the change of plea and sentencing hearings; (2) the Defendant
           provides full, complete and truthful information to the United States
           Probation Office in the pre-sentence investigation; and (3) the
           Defendant engages in no conduct inconsistent with acceptance of
           responsibility before the time of sentencing, including frivolously
           denying facts in the Presentence Report. Nothing in this agreement
           limits the right of the government, pursuant to U.S.S.G. § 3El.1
           and/or § 3C 1.1 to seek denial of a reduction for acceptance of
           responsibility or an enhancement for obstruction of justice should the
           Defendant engage in any conduct inconsistent with acceptance of
           responsibility, including moving to withdraw his guilty plea after it is
           entered.

      e.   Criminal History Category. The parties believe that, at the time of
           sentencing, the Defendant will fall into Criminal History Category I.
           U.S.S.G. § 4Al.l. This does not constitute a stipulation, but a belief
           based on an assessment of the information currently known. The
           Defendant's actual criminal history and related status will be
           determined by the Court based on the information presented in the
           Presentence Report and by the parties at the time of sentencing. The
           Defendant understands that if the presentence investigation reveals
           any prior adult or juvenile sentence which should be included within
           his criminal history under the U.S. Sentencing Guidelines, the
           Defendant will be sentenced based on his true criminal history
           category, and he will not be permitted to withdraw from this Plea
           Agreement. U.S.S.G. § 4Al. l.

      f.    Guidelines Range. If the adjusted offense level is 19 (20 + 2 - 3), and
            the criminal history category is I, the Sentencing Guidelines range for
            Count One is 30-37 months of imprisonment.

      g.    Supervised Release. The Sentencing Guidelines call for a term of
            supervised release of between two and five years. U.S.S.G. §
            5D1.2(a)(l).

      h.   Mandatory Consecutive Term. The Sentencing Guideline for Count
           Two is 7 years consecutive to Count One, the minimum term of
           imprisonment required by 18 U.S.C. § 924(c)(l)(A)(ii).
           U.S.S.G. § 2K.2.4(b).



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       8.     Discretion of the Court. The foregoing stipulations are binding on the

parties, but do not bind the Court. The parties understand that the Sentencing Guidelines

are advisory and their application is a matter that falls solely within the Court's discretion.

The Court may make its own determination regarding the applicable guideline factors and

the applicable criminal history category. The Court may also depart from the applicable

Guidelines. If the Court determines that the applicable guideline calculations or the

Defendant's criminal history category are different from that stated above, such a

determination shall not provide a basis for the parties to withdraw from this agreement, and

the Defendant will be sentenced pursuant to the Court's determinations.

       9.     Agreements as to Sentencing Recommendation. The United States will

recommend a sentence at the low end of the Sentencing Guidelines for Count One, and a

consecutive seven-year sentence for Count Two. The Defendant is free to recommend

whatever sentence he deems appropriate. The Defendant reserves the right to make a

motion for departures from the applicable Guidelines range pursuant to 18 U.S.C. §

3553(a), and the United States reserves the right to oppose any such motion made by the

Defendant. The Defendant may argue for a sentence outside the applicable Guidelines

range. If the Court does not accept the sentencing recommendation of the parties, the

Defendant will have no right to withdraw his guilty plea.

       10.    Restitution Agreement. The Defendant understands and agrees that the

Mandatory Victim Restitution Act, 18 U.S.C. § 3663A, applies and that the Court is

required to order the defendant to make restitution to the victims of his crime. The

Defendant understands and agrees the Court may order the defendant to make restitution

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    to any victim of the crime, including victims of mail theft, regardless of whether the victim

    was named Indictment. Defendant further agrees to grant the United States a wage

    assignment, liquidate assets, or complete any other tasks the Court finds reasonable and

    appropriate for the prompt payment of any restitution or fine ordered by the Court.

           11.    Forfeiture. The Defendant agrees to forfeit to the United States, pursuant to

    18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any firearm and ammunition used in the

    commission of Count One or Count Two, including but not limited to:

           a.     One black Glock handgun with serial number CABE903

           12.    Waivers of Appeal and Collateral Attack. The Defendant hereby waives

    the right to appeal any non-jurisdictional issues. This appeal waiver includes, but is not

    limited to, the Defendant's waiver of the right to appeal guilt or innocence, sentence and

    restitution, any assessment, forfeiture order, the constitutionality of the statutes to which

    the Defendant is pleading guilty or under which the Defendant is sentenced, the

    constitutionality of any applicable Sentencing Guidelines, or that the Defendant's conduct

    did not fall within the above-referenced statutes or Guidelines. The parties agree, however,

    that excluded from this waiver is an appeal by Defendant of the substantive reasonableness

    of a term of imprisonment above the high end of the applicable Guidelines range of

    imprisonment. The Defendant also waives the right to petition under 28 U.S.C. § 2255

    except based upon a claim of ineffective assistance of counsel.

           The Defendant has discussed these rights with his attorney. The Defendant

    understands the rights being waived, and the Defendant waives these rights

    knowingly, intelligently, and voluntarily.

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       The United States reserves the right to appeal any sentence below the low end of the

Guidelines.

       13.    Breach. Defendant acknowledges and understands that ifDefendant violates

any term of this Plea Agreement, engages in any further criminal activity, or fails to appear

for sentencing, the United States will be released from its commitments. In that event, this

Plea Agreement shall become null and void at the discretion of the United States, and

Defendant will face the following consequences: (1) all testimony and other information

Defendant has provided at any time to attorneys, employees, or law enforcement officers

of the government, to the Court, or to the Federal Grand Jury, may be used against

Defendant in any prosecution or proceeding; and (2) the United States will be entitled to

reinstate previously dismissed charges and/or pursue additional charges against Defendant

and to use any information obtained directly or indirectly from Defendant in those

additional prosecutions. Nothing in this agreement prevents the United States from

prosecuting Defendant for perjury, false statement(s), or false declaration(s), if Defendant

commits such acts in connection with this agreement or otherwise.

       14.    Plea Agreement Supplement. The United States will file a Supplement in

this case, as is routinely done in every case, even though there may or may not be any

additional terms. Defendant and Defendant's attorney acknowledge that no threats,

promises, or representations exist beyond the terms of this Plea Agreement.

       15.    Waiver of Withdrawal of Guilty Plea. By signing this Plea Agreement,

Defendant further specifically waives Defendant's right to seek to withdraw Defendant's

plea of guilty, pursuant to Federal Rules of Criminal Procedure ll(d), once the plea has

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      been accepted. The appellate court routinely enforces such waivers. Defendant agrees that

      any attempt to withdraw Defendant's plea will be denied and any appeal of such denial

      should be dismissed.

             16.    Rule 32(0. The Assistant United States Attorney and attorney for Defendant

      agree to abide by the provisions of Rule 32(f) of the Federal Rules of Criminal Procedure.

      The attorneys acknowledge their obligation to use good-faith efforts to resolve any disputes

      regarding the Presentence Investigation Report (PSIR) through a presentence conference

      or other informal procedures.

             17.    Complete Agreement. The Defendant acknowledges that he has read this

      plea agreement and has carefully reviewed each provision with his attorney.             The

      Defendant further acknowledges that he understands and voluntarily accepts every term

      and condition of this plea agreement. This plea agreement, along with any agreement

      signed by the parties before entry of the plea, is the entire agreement and understanding

      between the United States and the Defendant

             AGREED:
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                                  MAC SCHNEIDER
                                  United States Attorney


Dated: _   I_-_J_ u_- _ z__~- -
                                  Assistant United States Attorney




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